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Exhibit D

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UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF NEW YORK

Mohamed John Sohel Akhtar and
la Buca Restaurant, Inc. d/b/a
Swing 46 Jazz and Supper Club,

Plaintiffs,

V.

Eric Adams, Mayor of the City of | C8S® No. 23-ev-06585 (JGLC)(VF)

New York, Rohit T. Aggarwala, New :
York City Department of
Environmental Protection, Eric I.
Eisenberg, and John and Jane

Does One through Thirty,

Defendants.

Declaration of Howard Fredrics

|, Howard Fredrics, of full age, declare and affirms, under the penalty
of perjury, to the truth of the following:

1. | am a professional audio engineer, sound designer, audio
researcher and university professor of music technology with over forty
years of experience, which has included calibrating and ensuring safe
operation of live sound reinforcement systems for professional theatrical
and musical performances, as well as engineering and mastering of

commercial recordings for international distribution.

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2. | am fully-versed in established standards for measuring sound
pressure levels at various distances and under various conditions, using
scientific test microphones, decibel meters and related sound
measurement software. | am also well-versed in the principles of acoustics
as they apply to construction materials and architectural designs of
buildings.

3. | hold a BMus degree from Oberlin Conservatory in Technology in
Music and Related Arts, and MMus and DMA degrees in Music
Composition with Concentration in Computer Music from the University of
Texas at Austin. | have also served on the faculties of Brown University,
Oberlin Conservatory, Texas A&M University, Western Carolina University
and Kingston University of London.

4. have had the benefit of reviewing the Declaration of Michelle
Collier, dated March 20, 2025, and am able to offer an expert opinion
based upon here sworn statement. Ms. Collier states, “...never have |
heard the sound of music being audible beyond the patio.” She also
indicates that “Mr. Eisenberg placed what appeared to be a cell phone
‘directly upon the speaker.” She states the speaker is recessed in the

awning above the entrance to the property of Swing 46.

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5. | have also viewed photographs of the property’s entrance, awning
and patio area and would estimate the total distance between the recessed
speaker and the end of the awning, which extends over the sidewalk, just
past the patio, to be approximately 8 feet.

6. If, for example, the SPL was measured at 90dB at 1.2 inches (1/10
ft) from the sound source, a subjectively loud listening level, as might
happen were one to place a cell phone running sound measurement
software next to a loudspeaker playing music, at 8ft in front of the
loudspeaker, on the sidewalk in front of the property, SPL would dissipate
to approximately by approximately 38dBA to 52dBA, which, with typical
ambient street noise levels in New York City averaging 73dBA, would
normally be rendered nearly, if not entirely, inaudible.

7. Indeed, if what might seem like an objectively unreasonably loud
SPL of, for example, 90dB for music was more properly measured from a
typical passerby’s vantage point, the sidewalk location ca. 8ft from the
loudspeaker, the SPL level of the music would have dissipated to a
negligible SPL level.

8. Because of the number of variables involved in estimating the
impact of exterior and interior building surfaces and construction materials

on sound dissipation when determining code compliance for a proximate

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indoor dwelling, it would be advisable to measure sound pressure level
(SPL) from within the dwelling in question in order to obtain the most
precise measurement results.

9. Moreover, other factors that would impact the validity of
measurements taken by Mr. Eisenberg include the quality and frequency
response of the cell phone’s built-in microphone and the accuracy of the
measurement software app used. Indeed, professional engineers use
specialized scientific measurement microphones, and well-calibrated
professional SPL meters to take such measurements. Mr. Eisenberg’s
equipment appear to be consumer-grade equipment, whose reliability
cannot be established.

10. Hence, | am of the opinion that Mr. Eisenberg’s measurement
method of placing a cell phone directly in front of a loudspeaker is
inherently inadequate for determining code compliance.

11. Furthermore, Mr. Eisenberg’s having applied his sound
measuring device directly to a speaker suggests ignorance of proper
collection methods, or alternatively, Mr. Eisenberg had a nefarious intent to
distort the results of his measurements for the purpose of making his noise

complaints appear genuine, when they are not.

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|, Howard Fredrics, declare under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct.

|}

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Lures + ASL AL

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Dated: April 25, 2025

Howard Fredrics

